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lN THE NINTH JUDICIAL CIRCUIT COURT
IN AND FOR OSCEOLA COUNTY, FLORII)A

SOUTHSTAR CAPITAL GROUP, l, LLC,
COTTINGTON ROAD TIC, LLC, and
DURBAN ROAD TIC, LLC,

Plaintil`i`s,
vs. CASE NO. 2018-CA-4lS-OC
1662 MULT|FAMILY LLC, HlNES 1662
MUL'I`IFAM|LY, LLC, HlNES
|NVESTMENT MANAGEMENT
HOLDINGS LlMlTED PARTNERSHIP,
HlMI-I GP, LLC, HlNES lNTERESTS
LlMlTED PARTNERSH|P, JCH
lNVESTl\/lENTS, INC, and URBAN
OAKS BUILDERS LLC

Del`endants.
/

DEFENDANT URBAN OAKS BUILDERS LLC’S MOTION TO DISMISS

Defendant Urban Oaks Builders LLC (“UOB”) liles this Motion to Dismiss the claims
brought by Plaintif`fs in Counts I-lll of their Complaint for Damages under Rule l.l40(b)(6) of
the Florida Rules of Civil Procedure.

l. INTRODUCTION

This is a construction defect case. The underlying allegations asserted by Plaintiff`s
Southstar Capital Group, l, LLC (“Southstar”), Cottington Road TIC, LLC and Durban Road
TlC, LLC (collectively "Plaintifl`s”) all concern allegedly defective construction at an apartment
project UOB built as the general contractor and completed in 2016. UOB denies and disputes
many of Plaintif`f`s’ allegations and is filing an Answer and Al`lirmative Del`enses simultaneously

with this motion.

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Leaving aside for the moment the substantive validity ol`the Plaintit`t`s" claims, it is clear
that the only appropriate party that the Plaintil`|`s can sue l`or any allegedly defective construction
is UOB, None of the other defendants that Plaintiffs have included in this lawsuit had any role in
the construction of the property at issue.

But notwithstanding this fact, Plaintit`t`s have sued 1662 Multil`amily, LLC (“1662
Multit`ami|y”) the entity with whom UOB contracted to build the building in question and who
then sold it to Southstar, and have also sued Hines 1662 Mu|til`amily LLC, Hines investment
Management Holdings Limited Partnership, HIMH GP LLC, Hines Real Estate l-Ioldings
Limited Partnership, I-Iines Interests Limited Partnership, and JCH lnvestments, lnc. (together
with 1662 Multit`amily the “Other Del`endants”) in a baseless effort to hold UOB and the Other
Det`endants collectively liable under theories ot` fraud and misrepresentation. 1662 Multifamily
and the Other Defendants have filed a motion to dismiss Plaintil`t`s’ claims against them because
they fail to state a viable claim under applicable law. UOB hereby moves to dismiss the claims
against it in Counts l-lll for the same reason.

ln short, Plaintit`l`s are seeking to hold UOB liable for misrepresentations based on a
contract it did not sign and representations it did not tnake, and predicated on the conclusory
assertion that UOB, 1662 Multil`amily and the Other Del`cndants are all “at`tiliates” and therefore
are collectively responsible_to the Plaintifl`s. Plaintil`t`s essentially seek to have the court
disregard the corporate separateness ot` UOB and the Other Defendants in this action. But courts
are reluctant to pierce the corporate veil and disregard the corporate form and with good reason.
This Court should not do so here.

Under the applicable legal standards. in order to pierce the corporate veils that separate

UOB from the Other Dct`endants. Plaintil`l`s must allege t`acts establishing the complete

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domination and control by UOB over 1662 l\/Iultifamily so that it functions as a “mere
instrumentality” of UOB, as well as allege facts that establish conduct tantamount to fraud in the
formation or use of 1662 Multifamily by UOB. Plaintil`l`s have alleged and cannot prove any of
this and their “claim” for piercing the corporate veil must be dismissed, along with the breach of
contract and fraudulent inducement/fraudulent misrepresentation claims that are based on the
premise of “aftiliation” and the unsupported and legally unfounded predicate that piercing the
corporate veil isjustified in this instance.

lI. BACKGRouNn

ln July of2014, UOB contracted with 1662 Multifami|y for the construction ofa 306-unit
apartment project in Celebration, Florida, then known as “Aviva at Celebration” and currently
known as “Sola at Celebration” (the “Apartments”). The Apartments consist of six identical
four-story residential apartment buildings and a clubhouse. Each of the apartment buildings
features L-shaped cantilevered balconies supported by three cantilevered beams on the second
through fourth floor corner apartment units, with smaller rectangular cantilevered balconies on
the “interior” units, UOB completed the Apartments in March 2016. Later that year, 1662
Multifamily sold the Apartments to Plaintit`fs through an Agreement of Sale and Purchase
between 1662 Multifamily, LLC and Southstar Capital Group l, LLC dated .luly 1, 2016 (the
“Agreement”), attached as Exhibit l to Plaintiffs’ Complaint. (Compl. 11 15, Ex. l, Agreement.)
UOB was not a party to this transaction. (See Compl. Ex. l, Agreement at l.) No separate or
additional warranty was given by UOB to Southstar in connection with the sale, and UOB’s
construction contract with 1662 l\/lultifamily was not assigned to P|aintil`l`s by 1662 Multifami|y.
(See generally id.)

ln February 2017. Southstar lvlanagement l, LLC (“Southstar Management,” an affiliate

of Plaintiffs and a non-party to this action) notified UOB that some of the cantilevered corner

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balconies at the Apartments were detiecting downward. UOB, the architect and the engineer of
record for the project, then inspected the situation and determined that the balconies needed to be
shored and supported to prevent further movement, the balcony structure exposed, and new
structural supports installed, at which time the temporary shoring could be removed and the
affected units re-occupied. UOB began performing the work to stabilize and repair the corner
balconies in May 2017.

While UOB was performing this work, the Osceola County Building Department posted
a Notice of Evacuation at the Apartments on August 14, 2017, stating that the buildings were
unsafe to occupy and requiring that the buildings be vacated within 30 days. Notably, the
County did not follow its own ordinances requiring notice and hearing before issuing an
evacuation order, and the County only provided minimal supporting reasons for its decision. But
instead of seeking to challenge the County’s Notice of Evacuation, Southstar Management, at the
direction of the Plaintit`fs, immediately ordered all residents to vacate the buildings within 30
days and began terminating leases. Both Southstar Management and Plaintiffs refused to take
any action to challenge the Building Department’s Notice of Evacuation despite receiving two
reports prepared by UOB's forensic engineering consultant (Wiss .laney Elstner Associates, lnc.
“WJE”), stating that in WJE’s professional engineering opinion that the Apartments were safe to
occupy. During the fall and winter of 2017-201 8, UOB continued with the work to stabilize and
repair the cantilevered corner balconies, and the parties attempted to negotiate a resolution ofthe
issues at the Apartments.

These efforts at a negotiated resolution failed, and in February 2018 Plaintiffs filed suit
against UOB, 1662 Multifamily. and the Other Defendants alleging substantive claims that fall

into three categories: (a) claims alleging defective construction by UOB based on negligence and

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claimed violations of the Florida Building Code; (b) claims for breach against 1662 Multifamily
stemming from its sale of the Apartments; and (c) claims against all the defendants (UOB, 1662
Multifamily, and the Other Del`endants) for fraudulent non-disclosure/fraudulent inducement and
based on the alleged ability to disregard the separate corporate status of each defendant. As
noted above, simultaneously with the filing of this Motion to Dismiss, UOB is filing an Answer
and Aftirmative Defenses to Plaintiffs’ negligence and Florida Building Code violation claims.
While UOB denies and disputes Plaintiffs’ allegations, it is clear that UOB is the only proper
party against whom such claims should be brought-since UOB (and UOB alone) was the
general contractor for the construction of the Apartments. Plaintiffs’ claims that are based on the
purchase of the Apartments from 1662 Multif`amily are not sustainable against UOB, Plaintiffs
do not and cannot allege that UOB was a party to the Agreement nor can or do Plaintiffs allege
that UOB made any representations to Plaintiffs (fraudulent or otherwise) regarding the
Apartments.

1n apparent recognition of their inability to assert viable direct claims against UOB for
either breach of contract or fraud relating to the sale of the Apartments, Plaintiffs seek instead to
hold UOB liable for the alleged actions of 1662 Multif`amily as its “alter ego.” (See Compl. 1111
42, 51, p. l l.) 1n support of the assertion that UOB was the alter ego of 1662 Multifami|y (and
the Other Defendants), Plaintiffs state-in conclusory fashion and with no specific factual

support-the following:

¢ “1662 Multifamily was dominated and controlled by the other Hines Defendants
[defincd to include all defendants in this lawsuit, including UOB].” (Compl. 11
30.)

0 Thc defendants engaged in a “schemc to improperly withhold their knowledge of

the l'lidden Defects, fraudulently induce the Plaintiffs to purchase the property
and use 1662 Mu|tifamily as a protective shield while carrying out the scheme.”
(]rl.)

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0 Thc defendants “are inextricably intertwined as parts of the same corporate
family, all of which are Affiliates under the control and management of Hines
lnterests LP and JCH [lnvestments, lnc.” ([d. 11 31 .)

¢ "Upon information and belief, the Hines Defendants operated as a single
economic entity that resulted that resulted in an overall element of injustice or
unfairness to Plaintiffs in that Defendant 1662 Multifamily, as the Seller of the
Property to Plaintiffs, has no assets upon which to compensate Plaintiffs. . .[.]”
(la'. 1139(a).)

0 "Upon information and belief, Defendant 1662 Multifamin was
undercapitalized[.]” (Id. 11 39(b).)

0 "`Upon information and belief, and as further evidence of the unity of interests, the
policy providing insurance for work performed on the property was purchased by,
paid for and written in the name of Hines Interests LP.” (Id. 1139(0).)

0 “Upon information and belief, Defendant 1662 Multifamily and the other Hines
Defendants failed to observe corporate formalities[.]” (Id. 11 39(d).)

¢ “Upon information and belief, Defendant 1662 Multifamily paid dividends or sale
proceeds to the l-lines Defendants, such that Defendant 1662 Multifamily was
rendered undercapitalized or insolvent[.]” (Id. 1| 39(e).)

¢ “Upon information and belief, the Hines Defendants siphoned funds from
Defendant 1662 Multifamily[.]” (Id. 11 39(0.)

- “Upon information and belief, there was a material absence of separate corporate
records among the Hines Defendants[.]” (Id. 11 39(g).)

¢ “Upon information and belief, Defendant 1662 Multifamin and UOB were
facades for the operations ofthe other Hines Defendants.” (Id. 1| 39(h).)

0 “Specifically, as set forth herein, a scheme was carried out by the Hines
Defendants, which was premised upon the substantial sharing of the Hines’
Defendants’ agents’ knowledge across and among all of the Hines Defendants so
that two of the entities (i.e. Defendants 1662 Multifamily and UOB) could appear
to carry out their duties without actually having the resources to do so, and
without actually fulfilling those duties.” (Id. 11 40.)

Bascd on these allegations, Plaintiffs seek to treat UOB, 1662 Multifamily, and the Other
Defendants as one collective entity for all purposes. (Compl. at 12.) This is not allowed under

the applicable law and Plaintiffs` claims in this regard must be dismissed.

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Although UOB was not a party to the Agreement and Plaintiffs do not allege that UOB
made any representations to it regarding the Apartments, Plaintiffs seek to hold UOB liable l`or
the alleged actions of 1662 Multifamily through a “Piercing the Corporate Veil/Alter Ego”
theory. (See Compl. at 1 1-12.) This attempt is legally invalid. First, piercing the corporate veil
is not an independent cause of action. Second, and tnore importantly, Plaintiffs’ have not alleged
facts that would support disregarding 1662 Multifamily’s corporate form and holding UOB liable
as its alter ego under applicable law. For these reasons, Plaintiffs’ claims against UOB for
fraudulent inducement/fraudulent non-disclosure and breach of contract must be dismissed since
Plaintiffs’ only theory of liability against UOB on these claims is that it is liable as 1662
Multifamily’s alter ego.

A. Legal Standard

Pursuant to`I-`lorida Rule of Civil Procedure l.l40(b), a defendant is entitled to file a
motion to dismiss a claim or complaint for failure to state a cause of action. “The purpose of a
motion to dismiss is to test the legal sufficiency of the allegations made in the complaint.” Black
Poim Assets, lnc. v. Federal National Morlgage Ass’n, 220 So. 3d 566, 558 (Fla. 5th DCA
2017). ln ruling on a motion to dismiss, a trial court is limited to the four corners of the
complaint and its incorporated attachments One Call Property Se)'vs. lnc. v. Sec. First Ins. Cr).,
165 So. 3d 749, 752 (Fla 4th DCA 20|5). The trial court is required to “treat the factual
allegations of the complaint as true and to consider those allegations in the light most favorable
to the plaintiffs." E.g. Sig/e v. Progres.vive Consumers lns. Co., 819 So. 2d. 732, 734-35 (Fla.
2002). However, *‘general, vague and conclusory statements are insufficient to satisfy the
requirement that a pleader allege ‘a short and plain statement of the ultimate facts showing the

pleader is entitled to relief`.”’ E.g. ./'0)'¢/0)1 v. N:`enhuis, 203 So. 3d 974. 976 (Fla. 5th DCA 2016)

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(qm)ling Fla. R. Civ. P. 1.1 10(b)). And “a complaint that patches together a string of legal
conclusions will not survive a motion to dismiss.” Davis v. Bay Cmm!y Jail, 155 So. 3d l 173,
l 177 (Fla. lst DCA 2014) (citing A.s'hcroji v. Iqbal, 556 U.S. 662 (2009) (“Threadbare recitals of
the elements of a cause ofaction, supported by mere conclusory statements, do not su f fice.”)).

B. Plaintiffs’ allegations are insufficient as a matter of law to state a claim against UOB
for piercing the corporate veil/alter ego.

Applying the foregoing legal standards, this Court should dismiss Count 1 of Plaintiffs’
Complaint against UOB for “Piercing the corporate veil/alter ego.” As an initial matter, it is
clear that piercing the corporate veil/alter ego is not an independent cause of action in and of
itself under Florida law.l But even if it were, Plaintiffs’ have not alleged facts that would
support disregarding 1662 Multifamily’s separate corporate form under the governing law.

l. In deciding whether to disregard 1662 Multifamily’s corporate form, the
Cou rt should apply Delaware La\v.

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Applying Florida’s choice of law rules to Plaintiffs claim” for piercing the corporate
veil, the Court should apply the law of 1662 Multifamily’s state of incorporation_i.e., Delaware
law. (See Compl. 1| 7 (“1662 Multifamily, is a Delaware limited liability company”).) Under
Florida law, “[c]laims involving ‘internal affairs’ of corporations, such as the breach of fiduciary
duties, are subject to the laws of the state of incorporation.” Challos Fozmd., lnc. v. D'Arara,

882 So.2d 1021, 1023 (Fla. 5th DCA 2004). As multiple courts applying Florida law have

recognized, the decision of whether to pierce the corporate veil of` an entity is a matter of the

 

' .S`ee Turner lllm'/)hy Co. v. Specially Consrruclors, lnc., 659 So.2d 1242, 1245 (Fla. lst DCA 1995)
("Piercing a corporate veil is not itself a cause of action any more than the doctrine of respondeat superior is.”); Tara
Prmls'.. lnc. v. Holl_}a¢'ood (iaclgels, lnc.. 2010 WL 1531489, at *9 (S.D. Fla. Apr. 16, 2010); Tara l’l'ods.. lnc. \'.
llo/I_tarm)d Gadgels. lnc., 2010 WL 1531489, at *9 (S.D. Fla. Apr. 16, 2010) (‘*Alter ego is not a separate cause of
action for which relief can be granted; rathcr, alter ego serves as a theory to impose liability on an individual for
the acts of a corporate entity."); Gumbel v, .S'coll, 2010 WL l 1505125, at *2 (S.D. Fla. Jan. 6, 2010) (“piereing the
corporate veil is not an independent cause of action under Florida law”). However, some courts loosely refer to veil
piercing as a "elaim.” See .»lcudia Pw'lners. l..l’. v. Tompkins. 759 So. 2d 732. 740 (Fla. 5th DCA 2000) (“The
elements of Acadia’s claim to pierce the corporate veil were separate from the elements of the other causes of action
submitted to thejury.”).

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internal affairs of the corporation and have applied the law of the state of incorporation as a
result. See Wa/ton Cr)n.s't. Co., LLC v. Corus Bank, 201 l WL 2938366, at *2 (N.D. Fla. Ju|. 21,
201 l) ("Because Funding is a limited liability company that is incorporated under the laws of
Delaware, this Court applies Delaware law on the question of piercing the corporate veil”);
Fried/ander Capita/ Management Corp., 411 B.R. 434 (S.D. Fla. 2009) (conc|uding under
Florida’s choice of law rules that the law of the state of incorporation should govern a reverse
veil piercing claim and reasoning that “[r]everse veil piercing involves the internal affairs of the
Debtor, mainly the rights and liability of the Debtor”); Pul!e Home Corp. v. Ply Gem Indus., ]nc.,
804 F. Supp. 1471 , 1489 (M.D. Fla. 1992) (applying Michigan law to veil-piercing allegations on
the basis that “the law of the state of incorporation governs the liabilities of the officers or
directors to the corporation under Florida’s choice-of-law principles”).2

Here, because 1662 Multifamily is a Delaware limited liability company, (Compl. il 7),
the Court should apply Delaware law in determining whether UOB and 1662 Multifamin can be
held liable on a veil piercing/alter ego theory.

2. Under Delaware law, Plaintiffs have pled insufficient facts to support their
veil piercing theory.

“Persuading a Delaware court to disregard the corporate entity is a difficult task.” E.g.
Wa/lace ex rel. Cem.'r)m Cable lncome Partne)'s 11, lnc., L.P. v. Wood, 752 A.2d 1175, 1183
(De|. Ch. 1999). To pierce the corporate veil of 1662 Multifamin and hold UOB liable for the
actions of` its alleged af`filiate, Plaintiffs must allege facts that if` taken as true both: (1)
demonstrate UOB’s “complete domination and control” of 1662 Multifamin to such an extent

that 1662 Multifamily "no longer has legal or independent signilicance of its own." i.e.. that

 

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Some Florida federal courts. particularly where the corporation is incorporated in a foreign country. have
reached a contrary conclusion and applied Florida law. See .1lilliken and (`0. \'. Haima Group Cm'/)., 2010 \VL
1286462 (S.D. Fla. Mar. l. 2010), ado/)led, 2010 WL 1286466 (S.D. Fla. Mar. 30, 2010) (applying Florida law
based on the most significant relationship test to the veil-piercing analysis of company organized under Chinesc
law).

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1662 Multifamin is UOB’s alter ego; and (2) that the corporate structure caused "fraud or
similar injustice.” Id. “Effectively, the corporation must be a sham and exist for no other
purpose than as a vehicle for fraud.” Ia’. Plaintiffs cannot satisfy either prong of the Delaware
test.3

(i) Plaintiffs have pled insufficient facts to show that 1662 Multifamily is the
alter ego of UOB.

Under Delaware law, determining whether one entity is the alter ego of another is a
multifactor test where “no single factor is dominant.” Ma.ron v. Network of Wilmington, lnc.,
2005 WL 1653954, at *3 (Del. Ch. Jul. 1, 2005). Relevant factors include “whether the
corporation was adequately capitalized for the corporate undertaking; whether the corporation
was solvent; whether dividends were paid, corporate records kept, officers and directors
functioned properly, and other corporate formalities were observed; whether the dominant
shareholder siphoned corporate funds; and whether, in general, the corporation simply
functioned as a facade for the dominant shareholder.” Id. (quoting United States v. Golden
Acres, lnc., 702 F.Supp. 1097, 1104 (D.Del. 1988)); see also Walton Const. Co., LLC v. Corus
Bank, 2011 WL 2938366, at *3 (N.D. Fla. Jul. 21, 2011) (applying Delaware law and same
factors).

Here, Plaintiffs lump UOB, 1662 Multifamily, and the Other Defendants together,
alleging for example that 1662 Multifamily was “dominated and controlled by the other Hines
Defendants.” (Compl. 1| 30.) But Plaintiffs do not allege any facts in support ofthese assertions

that identify how or when UOB allegedly dominated and controlled 1662 Multifamily to the

 

" The requirements of Florida and Delaware law with regard to piercing the corporate veil are quite similar.

See In re Hillsborough Holdings Corp., 175 B.R. 223, 244 (M.D. Fla. 2994) ("Florida and Delaware law require that
a claimant seeking to pierce the corporate veil between a parent and subsidiary corporation must establish, by a
preponderance of evidence, that: 1) the subsidiary was a mere instrumentality of the parent corporation, 2) the parent
corporation engaged in improper conduct, and 3) the improper use of the corporate form caused injury to thc
claimant."). As will be discussed at Section 111.B.3 itw'a, even if this Court were to apply Florida law, Plaintiffs'
piercing the corporate veil/alter ego claim must still be dismissed.

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extent that 1662 Multifamily no longer had any independent significance lnstead, Plaintiffs
merely state that UOB is 1662 Multifamily’s “Aftiliate” (defined by Plaintiffs as being
controlled by or under common control with 1662 Multifamily). Plaintiffs do not allege that
UOB was 1662 Multifamily’s parent, manager, or shareholder, (See Compl. 1111 2, 7), and even if
they did, under Delaware law common ownership without other factors, it is not enough to pierce
the corporate veil. See Trustees of Village of Arden v. Utility Const. Co.. 2000 WL 130627, at *4
(Del. Ch. .|an. 26, 2000) (“The undisputed fact that [the entity which owned the project] and [the
general contractor that contracted with the owner to build the project] have similar ownership is
not sufficient to justify disregarding their business forms.”). |n fact, Plaintiffs’ collective
allegations against all of the Other Defendants simply do not state any specific veil-piercing
“claim” against UOB. See Fasco Controls Corp. v. Goble, 688 So. 2d 1029, 1031 (Fla. 5th DCA
1997) (while complaint alleged that one corporation engaged in conduct, complaint did not
specifically allege that other corporate defendants engaged in such conduct).

Moreover, Plaintiffs’ attempt to treat multiple affiliated entities as the same without
setting forth particular facts that show why the veil of each particular entity should be pierced to
its particular owners is unsupported by Delaware law. See In re The Heritage Organization,
L.L.C., 413 B.R. 438, 514-15 (Bankr. N.D. Tex. 2009) (applying Delaware law, “the Trustee
seeks the global application of alter ego to all of the Entity Defendants so as to collapse the entire
Komman-controlled empire into Kornman, thereby making all of those entities (including
Kornman) liable for 1~1eritage’s debts, along with whatever debts each of those other entities has,
if any, in its own right. However, from the Court’s perspective, the alter ego theory relied upon
by the Trustee does not work on such a global basis.”).

For Plaintiffs’ claims to survive, they must be accompanied by facts that satisfy

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Delaware's two-pronged test at each level of ownership. And even if Plaintiffs could establish
that 1662 Multifamily’s corporate form should be disregarded vis-a-vis its owners, Plaintiffs
lnust also establish that the corporate status of 1662 Multifamily’s owners should be disregarded
vis-a vis their owners. See id. at 516 (the Trustee “Was required to satisfy the Delaware two-
pronged test at each level or layer of ownership”). Plaintiffs have not and cannot do so.

Here, Plaintiffs have simply “lumped” 1662 Multifamin and the Other Defendants
together without attempting to distinguish between them. Plaintiffs’ alter ego allegations are
conclusory at best, and merely restate the factors courts consider when applying Delaware (or
Florida) law. But none of Plaintiffs’ statements are accompanied by particular factual allegations

and as such they cannot survive a motion to dismiss. Thc following table demonstrates the

insufficiency of Plaintiffs’ Complaint in this regard.

 

Alter Ego Factors

Plaintiffs’ Allegations
(emphasis added)

 

Whether the corporation was adequately
capitalized for the corporate undertaking
E.g. Mason, 2005 WL 1653954, at *3.

“Upon information and belief, Defendant
1662 Multifamily was undercapitalized[.]”
§Compl. 11 39(b).)

 

Whether the corporation was solvent. Ia'.

 

Whether dividends were paid. Icl.

“Upon infornmtion ttml belief Defendant
1662 Multifamin paid dividends or sale
proceeds to the l-lincs Defendants, such that
Defendant 1662 Multifamily was rendered
undercapitalized or insolvent[.]” (Ia'. 11 39(e).)

 

“[W]hether corporate records were kept,
officers and directors functioned properly,
and other corporate formalities were
observed.” ]d.

“Upon information aml belief, Defendant
1662 Multifamily and the other Hines
Defendants failed to observe corporate
formalities[.]” (Id. 11 39(d).)

“Upon information and belief, there was a
material absence of separate corporate records
among the Hines Defendants[.]” (ld. 11 39(g).)

 

Whether the dominant shareholder siphoned
corporate funds. lrl.

“Upon information and belief, the Hines
Defendants siphoned funds from Defendant
1662 Multifamily[.]" (]¢l. 11 39(1).)

 

Whether the corporation simply functioned as
a facade for the dominant shareholder.

 

 

“Upon inj?)rnmtion and belief, Defendant
1662 Multifamin and UOB were facades for
the operations ofthe other Hines Defendants.”

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The foregoing conclusory assertions merely restate the elements of the cause of action in
a non-specific manner and are insufficient to withstand a motion to dismiss. See, e.g., Turnberry
Village Noth Tower Condomim'am Ass'n, lnc. v. Turnberry Village South Tower Condominium
Ass’n, lnc., 224 So.3d 266, 267 (Fla. 3rd DCA 2017) (affirming dismissal of complaint for
failure to state a claim, reasoning that “[plaintiff"s]amended complaint contained a mechanical
recitation of the elements of the cause of action, and, in particular, only conclusory allegations
that appellee substantially assisted or encouraged the wrongdoing.”); Stein v. BBX Capital Corp.,
2018 WL 1410715, at *l (Fla. 4th DCA Mar. 21, 2018) (“To survive a motion to dismiss, a
complaint must allege sufficient ultimate facts showing entitlement to relief. While we must
accept the facts alleged as true and make all reasonable inferences in favor of the pleader,
conclusory allegations are insufficient.”) (internal quotations and citations omitted). lndeed,
there are no factual allegations in support. See generally Compl.

But even if such threadbare allegations were considered, they do not entitle Plaintiffs to
disregard 1662 Multifamily’s corporate form. First, while Plaintiffs allege that 1662 Multifamin
was undercapitalized, they allege that 1662 Multifamily became undercapitalized when it paid
dividends or sale proceeds to the Other Def`endants. (See Compl. 1111 39(b), 39(e).) However,
passing income along to the owners of a pass-through entity (such as an LLC) simply does not
warrant piercing the corporate veil-_it is the legitimate purpose of pass-through entities.
Likewise, allegations that 1662 Multifamin became insolvent or undercapitalized are
insufficient grounds to disregard its corporate form, for if`that were the case, the corporate form
of every insolvent subsidiary would be disregarded Sec. e.g., In re BHS & B Holdings LLC, 420
B.R. l 12, 137 (Bankr. S.D.N.Y. 2009) (applying Delaware law, reasoning that

“undercapitalization is rarely sufficient to pierce the corporate veil, because otherwise the veil of

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every insolvent subsidiary or failed start-up corporation could be pierced.”) (intemal quotations
omitted).

Likewise, Plaintiffs’ conclusory allegations that UOB, 1662 Multifamily, and the Other
Defendants failed to observe corporate formalities is entitled to little weight in the alter ego
analysis because, as many courts have recognized, Delaware law requires few formalities for
limited liability companies (such as 1662 Multifamin and UOB). See Net./ets Aviation, Inc. v.
LHC Communieations, LLC, 537 F.3d 168, 178 (2d Cir. 2008) (Applying Delaware law, “[i]n the
alter-ego analysis of an LLC, somewhat less emphasis is placed on whether the LLC observed
internal formalities because fewer such formalities are legally required.”); In re BHS & B
Holdings, LLC, 420 B.R. at 138 (“lndeed, the Delaware Limited Liability Company Act . . .
requires little more than that an LLC execute a proper certificate of formation, maintain a
registered office in Delaware, have a registered agent for service of process in Delaware, and
maintain certain records for membership and tax purposes.”).

Further, Plaintiffs’ specific factual allegations relevant to the alter ego analysis are
insufficient as a matter of law to conclude that 1662 Multifamily is the alter ego of UOB.
Plaintiffs have alleged that “[u]pon information and belief, and as further evidence of the unity of
interests, the policy providing insurance for work performed on the property was purchased by,
paid for and written in the name of Hines Interests LP.” (Compl. 11 39(c).) But such an
allegation with regard to Hines lnterests LP is irrelevant to the question of whether UOB and
1662 Multifamin are alter egos of each other. And the fact that an entity with an economic
interest in the Apartments (i.e. l-lines interests LP as the alleged parent of 1662 Multifamily)
assisted its subsidiary in procuring an insurance policy is hardly evidence that the parent and

subsidiary were alter egos of each other or had such identical interests and operations that their

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separate legal identities should be disregarded Likewise, Plaintiffs` allegation that UOB, 1662
Multifamily, and the Other Defendants “are inextricably intertwined as parts of the same
corporate family, all of which are Affiliates under the control and management oinnes lnterests
LP and JCH [lnvestments, lnc.[,]” (Compl. 11 31), is insufficient, for “[c]ourts refuse to pierce the
veil just because parent corporations retain decision-making authority over subsidiaries.” In re
BHS & B Holdings LLC, 420 B.R. at 138.

lt is clear that Plaintiffs have not alleged facts sufficient to show that 1662 Multifamin is
the alter ego of UOB under Delaware law. Accordingly, Plaintiffs’ “claim” for piercing the
corporate veil/alter ego must be dismissed.

(ii) Nor have Plaintiffs pled sufficient facts to show that 1662 Multifamily’s
corporate structure cau.s'e.s'_[i'aud or similar injustice

Even if Plaintiffs’ allegations were sufficient to establish that 1662 Multifamin is the
alter ego of UOB (which they are not), “[t]o state a ‘veil-piercing claim,’ the plaintiff must also
plead facts supporting an inference that the corporation, through its alter-ego, has created a sham
entity designed to defraud investors and creditors.” Crosse v. BCBSD, lnc., 836 A.2d 492, 497
(Del. 2003). Stated differently, Plaintiffs must allege facts that if taken as true demonstrate that
1662 Multifamily’s corporate structure causes “l'raud or similar injustice.” Wallace, 752 A.2d at
l 183. Plaintiffs have not done so.

Plaintiffs’ allegations on this point are essentially that 1662 Multifamin committed fraud
and breached the Agreement in selling the Apartments, but now allegedly lacks assets to satisfy a
judgment. Specifically, Plaintiffs allege that UOB and the Other Defendants participated in a
“scheme” to withhold their collective knowledge of “hidden defects” at the Apartments to
fraudulently induce Plaintiffs to purchase the property and “use 1662 Multifamily as a protective

shield while carrying out the scheme.” (See Compl. 11 30.) Plaintiffs further allege that this

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“scheme” resulted in an “overall element of injustice or unfairness to Plaintiffs in that Defendant
1662 Multifamily, as the Seller of the Property to Plaintiffs, has no assets upon which to
compensate Plaintiffs . . . (Id. 11 39(a).) "l`hese allegations are insufficient as a matter of law,
because they fail to allege a fraud or injustice distinct from the underlying alleged wrong. See
Medi-Tec of Egypt Corp. v. Bausch & Lomb Surgical, 2004 WL 415251, at *4 (Del. Ch. Mar. 4,
2004) (“Medi-Tec’s alter ego argument also fails because it has not alleged that the corporate
form in and of itself operates to serve some fraud or injustice, distinct frotn the alleged wrongs of`
BLS France.”); In re Foxmeyer Corp., 290 B.R. 229, 236 (Bankr. D.De|. 2003) (“the underlying
cause of action, at least by itself, does not supply the necessary fraud and injustice[.]”).

The only possible injustice identified by Plaintiffs is that 1662 Multifamin may lack
sufficient assets to satisfy ajudgment. But as multiple courts have held, difficulty in enforcing a
judgment is simply not an injustice that warrants the exceptional remedy of piercing the
corporate veil. See Trevino v. Merscorp, lnc., 583 F. Supp. 2d 521, 530 (D. Del. 2008)
(“Delaware courts have held that the possibility that a plaintiff may have difficulty enforcing a
judgment is not an injustice warranting piercing the corporate veil.”); Mason v. Network of
Wilmington, lnc., 2005 WL 1653954, at *3 (Del. Ch. .lul. 1, 2005) (“ll" creditors could enter
judgments against shareholders every time a corporation became unable to pay its debts as they
become due, the limited liability characteristic of the corporate form would be meaningless.”).

Because Plaintiffs have not alleged facts sufficient to establish that 1662 Multifamily’s
corporate structure causes or has been used to perpetrate a fraud or similar injustice (distinct
from the underlying alleged wrongs), Plaintiffs’ “claim” for piercing the corporate veil/alter ego

must be dismissed.

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3. Even if the Court were to apply Florida law, Plaintiffs’ allegations do not
support disregarding the separate corporate form of 1662 Multifamily.

Even ifthe Court were to apply Florida law to Plaintiffs’ piercing the corporate veil/alter
ego claim, Plaintiffs cannot state a claim, To pierce the corporate veil under Florida law, a
plaintiff must establish that: “(l) the shareholder dominated and controlled the corporation to
such an extent that the eorporation's independent existence, was in fact non-existent and the
shareholders were in fact alter egos of the corporation; (2) the corporate form must have been
used fraudulently or for an improper purpose; and (3) the fraudulent or improper use of the
corporate form caused injury to the claimant.” E.g. Gasparini v. Pordomingo, 972 So. 2d 1053,
1055 (Fla. 3d DCA 2008) (emphasis added).

As discussed above (Section lIl.B.2), Plaintiffs’ Complaint contains no specific
allegations regarding how UOB dominated or controlled 1662 Multifamily to the extent that
1662 Multifamily’s independent existence was non-existent. Nor do Plaintiffs’ allege that UOB
was a shareholder or had any ownership interest in 1662 Multifamily (as required by the first
element of the Florida test). |nstead, Plaintiffs improperly lump UOB, 1662 Multifamily and the
Other Defendants together and merely restate the factors courts consider when deciding whether
corporations are alter-egos of each other. See supra at 9-10. Such bare legal conclusions arc
insufficient to survive a motion to dismiss. E.g. Jordan, 203 So.3d at 976. Finally, Plaintiffs’
have not alleged any facts supporting a fraud or improper conduct stemming from UOB’s use of
1662 Multifamily’s corporate form that is different from the underlying causes of action at issue
(i.c., frale and breach of contract by 1662 Multifamily relating to the sale of the Apartments).

For all these reasons. even ifthe Court were to apply Florida law, Plaintiffs’ “claim" for

piercing the corporate veil/alter ego must bc dismissed.

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C. Plaintiffs fail to state a claim against UOB for fraudulent non-disclosure/f`raudulent
inducement, because Plaintiffs do not allege that UOB made any representations to
Plaintiffs related to the sale of the Apartments.

Plaintiffs’ claims against UOB for fraudulent non-disclosure/f`raudulent inducement must
also be dismissed, because Plaintiffs fail to allege that UOB made any actionable representations
or had a duty to disclose material facts to Plaintiffs. “The elements of fraudulent
misrepresentation and fraudulent inducement are: (1) a false statement concerning a material
fact; (2) the representor’s knowledge that the representation is false; (3) an intention that the
representation induce another to act on it; and (4) consequent injury by the party acting in
reliance on the representation.” E.g. Moriber v. Dreiling, 194 So. 3d 369, 373 (Fla. 3rd DCA
2016). Likewise the elements of a fraudulent non-disclosure claim in the sale of residential real
property are: “(1) the seller of a home must have knowledge of a defect in the property, (2) the
defect must materially affect the value of the property, (3) the defect must be not readily
observable and must be unknown to the buyer, and (4) the buyer must establish that the seller
failed to disclose the defect to the buyer.” E.g. Jensen v. Bai/ey, 76 So. 3d 980, 983 (Fla. 2d
DCA 201 l).

Both these claims require as a prerequisite that the defendant make a representation or
have a duty to disclose material facts to the plaintiff. l~lowever, Plaintiffs do not allege that UOB
made any representations related to the sale of the Apartments. lnstead, Plaintiffs allege that
1662 Multifamily owed Plaintiffs a duty of disclosure, as well as “the other Hines Defendants, as
alter egos of` Defendant 1662 Multifamily[.]” (Comp|. 11 42.) But Plaintiffs` claims for piercing
the corporate veil/alter ego must be dismissed (for the reasons discussed above) and therefore for
Plaintiffs to state a viable claim against UOB for fraudulent misrepresentation/fiaudtllent non-
disclosure, Plaintiffs must plead facts establishing that UOB made an actionable

misrepresentation to Plaintiffs or that UOB owed Plaintiffs a duty of disclosure separate from

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1662 Multifamily. Plaintiffs have not done either. Accordingly, Plaintiffs’ claim for fraudulent
misrepresentation/f`raudulent non-disclosure as stated in Count ll of their Complaint must be
dismissed.

Moreover, Plaintif`fs` claim for fraudulent non-disclosure must also be dismissed because
as a matter of law, a seller of commercial property simply owes no duty of disclosure to a
sophisticated purchaser. See Wasser v. Sassoni, 652 So. 2d 411, 413 (Fla. 3rd DCA 1995) (“a
sophisticated purchaser of commercial property who agreed to an “as is” purchase contract, had
ample opportunity to conduct inspections, and could have discovered an alleged defect through
the exercise of ordinary diligence, may be disgruntled, but does not have a cause of action for
fraud.”). |n Wasser, the Third District Court of Appeal refused to extend the Florida Supreme
Court’s holding in Johnson v. Davis, 480 So. 2d 625 (Fla. 1985), which created a cause of action
for fraudulent non-disclosure in residential real-estate transactions, to apply to the sale of an
apartment building. !d. at 412-13. The court reasoned that ./ohnson did not extend a duty of
disclosure to commercial transactions, “and thus did not change the long line of case law
establishing caveat emptor as the rule in the sale of commercial property.” ]d. at 412 (internal
quotations omitted).

Simply put, neither 1662 Multifamily nor UOB owed Plaintiffs a duty of disclosure in
connection with the sale of the Apartments and thus Plaintiffs’ claim for fraudulent non-
disclosure must be dismissed on this basis as well.

D. Plaintiffs fail to state a claim against UOB for breach of contract because UOB is
not a party to the contract at issue.

Final|y, for reasons similar to the f`oregoing, Plaintiffs’ claim against UOB for breach of
contract must be dismissed. The elements of a breach of` contract claim are "( l) a valid contract;

(2) a material brcaeh; and (3) damages."’ E.g. Al)bott Laboratories, Inc. v. Genera/ Elec. Capital,

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765 So. 2d 737, 740 (Fla. 5th DCA 2000). lt is axiomatic that for one to be bound by a contract,
one must be a party to the contract. See, e.g., Mendez v. Hampton Court Nur.s'ing Cemer, LL(,`,
203 So. 3d 146, 151 (Fla. 2016) (holding non-party was not bound by arbitration agreement he
did not sign).

1n this case, Plaintiffs do not allege that UOB is a party to the Agreement, because in fact
UOB is not a party to the Agreement. (See Compl. Ex. l at 1.) lnstead Plaintiffs have alleged
that “the Agreement is a valid and enforceable contract between Plaintiff Southstar [Capital
Group I, LLC] and Defendant 1662 Multifamily” and that “the other Hines Defendants are a
party to the Agreement as alter egos of Defendant 1662 Multifamily.” (Compl. 1111 50-51.)
However, because as set forth herein, Plaintiffs’ claims for piercing the corporate veil/alter ego
must be dismissed, Plaintiffs’ breach of contract claim against UOB fails because UOB is not a
party to the Agreement.

As a result, Plaintiffs’ claim for breach of contract as stated in Count 111 of Plaintiffs’
Complaint must be dismissed.

IV. CoNCLusloN

For thc foregoing reasons, Defendant Urban Oaks Builders LLC requests that the Court
dismiss Plaintiffs’ claims for Piercing the Corporate Veil/Alter Ego (Count 1 of Plaintiffs’
Complaint). Fraudulent Non-Disclosure/Fraudulent lnducement (Count 11 01` Plaintil`l`s`
Complaint), and Breaeh of Contract (Count 111 of Plaintiffs’ Complaint) under Rule 1.140(b)(6)

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DATED: May 18, 2018
Respectful|y Submitted,

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CERT]FICATE OF SERVICE
1 hereby certify that on Friday, May 18, 2018, l electronically filed the foregoing with the
Clerk of the Court and that a copy was sent to all known counsel of record via electronic mail at

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